Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 1 of 10 PageID: 1
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 2 of 10 PageID: 2
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 3 of 10 PageID: 3
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 4 of 10 PageID: 4
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 5 of 10 PageID: 5
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 6 of 10 PageID: 6
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 7 of 10 PageID: 7
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 8 of 10 PageID: 8
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 9 of 10 PageID: 9
Case 2:21-cv-17257-JMV-LDW Document 1 Filed 09/17/21 Page 10 of 10 PageID: 10
